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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO.
                                                  :
              v.                                  :    MAGISTRATE NO. 1:22-MJ-133-ZMF
                                                  :
 RYAN KELLEY,                                     :    VIOLATIONS:
                                                  :    18 U.S.C. § 1752(a)(1) - Knowingly
                    Defendant.                    :    Entering or Remaining in any Restricted
                                                  :    Building or Grounds
                                                  :    Without Lawful Authority,
                                                  :    18 U.S.C. § 1752(a)(2) - Disorderly and
                                                  :    Disruptive Conduct in a Restricted
                                                  :    Building or Grounds,
                                                  :    18 U.S.C. § 1752(a)(4) - Knowingly Engage
                                                  :    in any Act of Physical Violence Against
                                                  :    Person or Property in any Restricted
                                                  :    Building or Grounds,
                                                  :    18 U.S.C. § 1361 - Destruction of
                                                       Government Property


                                     INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, RYAN KELLEY did knowingly

enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, RYAN KELLEY did knowingly,

and with intent to impede and disrupt the orderly conduct of Government business and official
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functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President was and would be temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of

Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, RYAN KELLEY willfully and

knowingly engaged in any act of physical violence against person or property, in any restricted

building or grounds, where the Vice President was and would be temporarily visiting, with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House

of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.

       (Knowingly Engage in any Act of Physical Violence Against Person or Property in
       any Restricted Building or Grounds in violation of Title 18, United States Code, Section
       1752(a)(4))




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                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, RYAN KELLEY did willfully

injure and commit depredation, and did attempt to do the same, against property of the United

States, and of any department and agency thereof, and any property which has been and is being

manufactured and constructed for the United States, and any department or agency thereof, that is

the tarp covering the northwest scaffolding of the United States Capitol Building, causing damage

in an amount less than $1,000.

       (Destruction of Government Property, in violation of Title 18, United States Code,
       Sections 1361 and 2)


Dated: June 22, 2022

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                                    By: /s/ April Ayers-Perez
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